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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF KENTUCKY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                College Cable Services, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  226 Industry Parkway                                            100 Castleberry Ln. Unit 265
                                  Nicholasville, KY 40356                                         Milford, OH 45150
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Jessamine                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       collegecable.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    College Cable Services, Inc.                                                                Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




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Debtor    College Cable Services, Inc.                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    College Cable Services, Inc.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 1, 2022
                                                  MM / DD / YYYY


                             X   /s/ Louis J. Santoro                                                     Louis J. Santoro
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Secretary / Treasurer




18. Signature of attorney    X   /s/ Ellen Arvin Kennedy                                                   Date May 1, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ellen Arvin Kennedy
                                 Printed name

                                 Dinsmore & Shohl LLP
                                 Firm name

                                 100 W. Main Street
                                 Suite 900
                                 Lexington, KY 40507
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     8594251000                    Email address      ellen.kennedy@dinsmore.com

                                 88347 KY
                                 Bar number and State




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Kentucky
 In re      College Cable Services, Inc.                                                                   Case No.
                                                                                  Debtor(s)                Chapter    11




                                          VERIFICATION OF MAILING LIST MATRIX


            I, the Secretary / Treasurer of the corporation named as the petitioner(s) in the above-styled bankruptcy action, declare under

penalty of perjury that the attached mailing list matrix of creditors and other parties in interest consisting of 31           page(s) is true and

correct and complete, to the best of my (our) knowledge.




 Date:       May 1, 2022                                               /s/ Louis J. Santoro
                                                                       Louis J. Santoro/Secretary / Treasurer
                                                                       Signer/Title



I,        Ellen Arvin Kennedy             , counsel for the petitioner(s) in the above-styled bankruptcy action, declare that the attached
Master Address List consisting of 31 page(s) has been verified by comparison to Schedules D through H to be complete, to the
best of my knowledge. I further declare that the attached Master Address List can be relied upon by the Clerk of Court to provide
notice to all creditors and parties in interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as
any amendments may be made.




 Date: May 1, 2022                                                     /s/ Ellen Arvin Kennedy
                                                                       Signature of Attorney
                                                                       Ellen Arvin Kennedy
                                                                       Dinsmore & Shohl LLP
                                                                       100 W. Main Street
                                                                       Suite 900
                                                                       Lexington, KY 40507
                                                                       8594251000




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                      3S SALES & SERVICE
                      11278 SEBRING DRIVE
                      Cincinnati OH 45240


                      4COM, INC.
                      1660 SOUTH HWY 100 SUITE #240
                      Minneapolis MN 55416


                      ACCU-TECH CORPORATION
                      P.O. BOX 840781
                      Dallas TX 75284


                      ACTIVE ELECTRIC, INC.
                      1885 SOUTHTOWN BLVD
                      Dayton OH 45439


                      ACTIVE TECHNOLOGIES, INC
                      16025 CONTINENTAL BLVD.
                      South Chesterfield VA 23834


                      ACUHO-I CENTRAL OFFICE
                      1445 SIMMIT STREET
                      Columbus OH 43201


                      ADVANCED DISPOSALSOLID WASTE
                      P.O. BOX 74008047
                      Chicago IL 60674


                      ADVANCED MEDIA TECHNOLOGIES
                      P.O. BOX 934327
                      Atlanta GA 31193


                      AFCO Insurance Financing
                      PO Box 887200
                      Los Angeles CA 90088


                      ALBANY STATE UNIVERSITY
                      504 COLLEGE DR.
                      ALBANY GA 31705


                      ALTON BLAKELY
                      2130 SOUTH HWY 27
                      Somerset KY 42501
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                  AMERICAN ROOFING AND METAL
                  4610 ROOFING RD.
                  Louisville KY 40218


                  ANIXTER INC.
                  2301 PATRIOT BLVD
                  Glenview IL 60026


                  ANTHEM BC/BS
                  P. O. BOX 6570
                  Carol Stream IL 60197


                  ARCHITECTURALLY YOURS
                  1049 KIIAWAH DRIVE
                  Lexington KY 40515


                  Asbury University
                  1 MACKLEM DR.
                  Wilmore KY 40390


                  AT&T MOBILITY
                  P. O. BOX 6463
                  Carol Stream IL 60197


                  AUTO OWNERS INSURANCE COMPANY
                  PO BOX 740312
                  Cincinnati OH 45274


                  B & R Heating and Air Conditioning
                  P.O. BOX 8008
                  Lexington KY 40533


                  B-K PLUMBING
                  P.O. BOX 24903
                  Lexington KY 40524


                  B. P. FLEETMANAGER
                  P. O. BOX 70995
                  Charlotte NC 28272


                  B.A. SYSTEMS INTEGRATION COMPANY, INC.
                  520 FOREST OAKS DRIVE
                  Richmond KY 40475
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                  BAKER'S BODY SHOP
                  1383 RIVER RD.
                  London KY 40744


                  Bellarmine University
                  2001 Newburg Road
                  Louisville KY 40205


                  BEST WESTERN
                  248 WBI DR. P.O. BOX 700
                  Dillsboro NC 28725


                  Beth Lambert, MBA, CPPB
                  Missouri Dept. of Corrections
                  Fiscal Management Unit, Purchasing
                  2729 Plaza Dr.
                  Jefferson City MO 65109


                  BILL JOHNSON
                  106 LAURENBROOK DR.
                  Nicholasville KY 40356


                  BLONDER TONGUE
                  ONE JAKE BROWN RD
                  Old Bridge NJ 08857


                  BOYLE COUNTY SHERIFF
                  321 W MAIN, ROOM 103
                  Danville KY 40422


                  BP BUSINESS SOLUTIONS
                  P.O. BOX 70995
                  Charlotte NC 28272


                  BUDCO, INC.
                  P.O. BOX 3065
                  Tulsa OK 74101


                  BUREAU OF MOTOR VEHICLES
                  P.O. BOX 183089
                  Columbus OH 43218


                  C&C COMMUNICATIONS
                  873 EAST LAUREL ROAD
                  London KY 40741
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                  C&C ELECTRIC
                  76 COUNTY RD. 106
                  Montevallo AL 35115


                  C&R CABLE
                  400 BLUE SKY PARKWAY
                  Lexington KY 40509


                  CABLE SPORTS SOUTHEAST
                  P.O. BOX 8500
                  Philadelphia PA 19178


                  CELERANT TECHNOLOGY CORP.
                  4830 ARTHUR KILL RD.
                  Staten Island NY 10309


                  Central Equipment
                  791 Red Mile Rd.
                  Lexington KY 40504


                  CENTRAL INSURANCE SERVICES
                  2424 HARRODSBURG RD. SUITE 102
                  Lexington KY 40503


                  Central State Hospital
                  Powell Building
                  Milledgeville GA 31062


                  CENTRONICS
                  325 LOG CANOE CIRCLE
                  Stevensville MD 21666


                  CHARLES BOSTON
                  55 NORTH MAIN STREET SUITE 104
                  Moticello KY 42633


                  CHARTER COMMUNICATIONS
                  PO BOX 6030
                  Carol Stream IL 60197


                  CINCINNATI ALARM SYSTEMS, INC.
                  11524 GROOMS RD,
                  Blue Ash OH 45242
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                  CINCINNATI BELL
                  P.O. BOX 748003
                  Cincinnati OH 45274


                  CINCINNATI BELL ANY DISTANCE
                  P.O. BOX 748001
                  Cincinnati OH 45274


                  CINCINNATI CABLE TECHNOLOGY LLC
                  P.O. BOX 141101
                  Cincinnati OH 45203


                  CINCINNATI WATER WORKS
                  P.O. BOX 742505
                  Cincinnati OH 45274


                  CINCY EAST VBC
                  4343 MT CARMEL TOBASCO RD.
                  Cincinnati OH 45244


                  CINTAS CORPORATION
                  P.O. BOX 630921
                  Cincinnati OH 45263


                  CITY OF GEORGETOWN
                  100 COURT STREET
                  Georgetown KY 40324


                  City of Homewood
                  P.O. Box 59666
                  Homewood AL 35259


                  CITY OF MONTEVALLO
                  545 Main Street
                  Montevallo AL 35115


                  City of Nicholasville
                  P. O. Box 590 517 North main Street
                  Nicholasville KY 40340


                  CITY OF NICHOLASVILLE-2
                  105 COURT ROW
                  Nicholasville KY 40356
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                  City of Nicholasville-3
                  P.O. Box 450
                  Nicholasville KY 40356


                  City of Richmond
                  P.O. Box 1268
                  Richmond KY 40476


                  City of Springdale
                  11700 Springfield Pike
                  Springdale OH 45246


                  CITY OF WILMORE
                  335 E. MAIN STREET
                  Wilmore KY 40390


                  CLARKS BODY SHOP
                  3942 RUSSELLDIKE MEMORIAL
                  London KY 40741


                  CLEAR SHOT PLUS INC.
                  2398 SE MASLAN AVE. PORT
                  St. Lucie FL 40356


                  CLEARVIEW PROFESSIONAL WINDOW CLEANING,
                  1043 MACKEY PIKE
                  Nicholasville KY 45103


                  CLERMONT COUNTY
                  2275 BAUER RD.
                  Batavia OH 45255


                  CMC
                  4030 MT. CARMEL TOBASCO RD. SUITE 115
                  Cincinnati OH 43812


                  Cochocton County Clerk of Courts
                  318 Main Street
                  Coshocton OH 40509


                  COMFORT HEATING & AIR
                  2424 PALUMBO DRIVE
                  Lexington KY 40356
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                  COMFORTMASTER
                  109B MACARTHUR COURT
                  Nicholasville KY 40356


                  COMMERCIAL SATELLITE SERVICE
                  5673 DESCARTES CIRCLE
                  Boynton Beach FL 34472


                  COMMLINK INTEGRATION CORPORATION
                  15 TECH CIRCLE
                  Natick MA 01760


                  COMMODORE BLITZ
                  1111 CENTRE OARKWAY
                  Lexington KY 40517


                  COMMUNICATIONS PLUS
                  1449 FAIRMONT ROAD
                  Morgantown WV 26501


                  COMPLETELY KENTUCKY
                  237 WEST BROADWAY
                  Frankfort KY 40601


                  Conley Bottom Marina
                  270 Conley Bottom Road
                  Monticello KY 42633


                  CONSERVICE THE UTILITY EXPERTS
                  P.O. BOX 4718
                  Logan UT 84323


                  Corporate Records Service, Florida
                  P.O. Box 5618
                  Tallahassee FL 32314


                  Corporate Records Service-Kentucky
                  1303 US Hwy 127 S. Ste. 402 PMB 116
                  Frankfort KY 40601


                  COX BUSINESS
                  P.O. BOX 650957
                  Dallas TX 75265
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                  CTS TELECOMMUNICATIONS
                  6661 CORPORATE DR.
                  Cincinnati OH 45242


                  CUMBERLAND FORD MOTORS, INC.
                  1501 US 25 E
                  Middlesboro KY 40965


                  Dalton Lawn care
                  132 Rosemont Gdn
                  Lexington KY 40503


                  DAVENPORT UNIVERSITY
                  6191 KRAFT AVE SE
                  GRAND RAPIDS MI 49512


                  David's Trailer & Hitch Sales Inc.
                  600 North Main street
                  Nicholasville KY 40356


                  DAWN DENT
                  306 CONSOLATION CHURCH RD.
                  Whitesburg GA 30185


                  DECKEL & MONEYPENNY, INC.
                  615 MARRET AVENUE
                  Louisville KY 40208


                  DELL PREFERRED ACCOUNT
                  P.O. BOX 5292
                  Carol Stream IL 60197


                  DELTA DENTAL MID-MONTH BILLS
                  P.O. BOX 950199
                  Louisville KY 40295


                  DELTA NATURAL GAS CO.
                  P.O. BOX 378
                  Nicholasville KY 40340


                  DELUXE
                  P.O. BOX 4656
                  Carol Stream IL 60197
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                  Denmar
                  4319 Denmar Road
                  Hillsboro WV 24946


                  Dep't of Financial Instituion - WI
                  4822 Madison Yard Way North Tower
                  Madison WI 53703


                  Department of Revenue-KY
                  P.O. Box 491
                  Frankfort KY 40602


                  Direct Tv Business Service
                  PO Box 5006
                  Carol Stream IL 60197


                  DirecTV Headquarters
                  AT&T Entertainment Group Buidling LA5
                  2260 E Imperial Hwy
                  El Segundo CA 90245


                  DISPLAY SYSTEMS INTERNATIONAL, INC.
                  2214 HANSELMAN AVE.
                  SASKATOON, Sask S7L 6A4


                  DITCH WITCH OF KENTUCKY, INC.
                  P.O. BOX 6556 400 SPARROW DR.
                  Sheperdsville KY 40165


                  Dixon Hughes Goodman
                  P.O. Box 602828
                  Charlotte NC 28260


                  DLOM Group
                  448 Lewis Hargett Circle Ste 280
                  Lexington KY 40503


                  DOLLAR PROCESSING SERVICES
                  P.O. BOX 956649
                  St. Louis MO 63195


                  DON FRANKLIN FORD
                  P.O. BOX 968
                  London KY 40743
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                  DON'S AUTO BODY
                  100 SOUTH VINE STREET
                  Somerset KY 42501


                  DUKE ENERGY
                  P.O. BOX 1326
                  Charlotte NC 28201


                  E-Signs
                  216 INDUSRTY PKWY #3
                  Nicholasville KY 40356


                  EATON FORMS
                  2280 ARBOR BLVD.
                  Dayton OH 45439


                  EDUCATION INTELLIGENCE INC
                  P.O. BOX 140228
                  Nashville TN 37214


                  EQUIPMENT SALES & RENTALS, LLC.
                  P.O. BOX 8075
                  Lexington KY 40533


                  Evans Gourmet Food
                  224 Industry Pkwy Ste A
                  Nicholasville KY 40356


                  FARMERS UNION INSURANCE
                  P.O. BOX 078567
                  Milwaukee WI 53278


                  FIBER INSTRUMENTS SALES INC.
                  161 CLEAR ROAD
                  Oriskany NY 13424


                  FINAL COAT PAINTING
                  325 BILOXI DR.
                  Nicholasville KY 40356


                  FIRST AMERICAN TITLE INSURANCE CO.
                  901 S. 2ND STREET SUITE 201
                  Springdale IL 62704
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                  First Southern National Bank
                  15 US-27
                  Somerset KY 42501


                  First Southern National Bank
                  Card Member Services
                  P.O. Box 790408
                  St. Louis CT 06317-9000


                  FLAGSTAFF CORP
                  1000 N PLAZA DR. SUITE 610
                  Schaumburg IL 60173


                  Flordia Department of Revenue
                  5050 West Tennessee St.
                  Tallahassee FL 32399


                  Florida Compliance Services
                  400 Capital Cir SE P.O. Box 18321
                  Tallahassee FL 32301


                  Ford Credit
                  P.O. Box 790093
                  St. Louis MO 63179


                  Frontier
                  P.O. Box 740407
                  Cincinnati OH 45274


                  Frontier Communication
                  P.O. Box 740407
                  Cincinnati OH 45274


                  FULLER FORD
                  900 W. 8TH STREET
                  Cincinnati OH 45203


                  GEMINI CONTRACTING
                  904 SPRINGWOOD CT.
                  Lexington KY 40515


                  GEORGETOWN COLLEGE
                  400 EAST COLLEGE ST.
                  GEORGETOWN KY 40324
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                  GEORGETOWN/SCOTT COUNTY
                  160 EAST MAIN STREET
                  Georgetown KY 40324


                  Georgia State Parks
                  c/o Pam Meditz
                  2610 Highway 155, SW,
                  Stockbridge GA 30281


                  GLACUHO
                  4201 GRANT LINE RD. MEADOW LODGE RM 103
                  New Albany IN 47150


                  GO 4 SATELLITE
                  145 ROAD 1 SOUTH SW
                  Cartersville GA 30120


                  GOLDEN SPIKE INDUSTRIES,INC.
                  W12374 MCCUBBINS LANE
                  Lodi WI 53555


                  GORDON STATE COLLEGE
                  419 COLLEGE DRIVE
                  BARNESVILLE GA 30204


                  GRAYBAR
                  RAYBAR 12444 COLLECTIONS
                  Chicago IL 60693


                  GREAT AMERICAN CABLING
                  5524 STOKESWOOD CT.
                  Cincinnati OH 45238


                  Grest American Insurance Group
                  P.O. Box 89400
                  Cleveland OH 44101


                  Grott Locksmith Center, Inc.
                  1112 Winchester Rd.
                  Lexington KY 40505


                  H2 Promotions
                  105 Bradley Drive
                  Nicholasville KY 40356
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                  HARLEY FAMILY TIRE
                  521 SOUTH 3RD ST
                  Danville KY 40422


                  HARTFORD
                  P.O. BOX 660916
                  Dallas TX 45266


                  Herb Geddes Fence
                  232 INDUSTRY PARKWAY
                  Nicholasville KY 40356


                  HIQ CORPORATE SERVICES, INC.
                  715 ST. PAUL STREET
                  Baltimore MD 21202


                  HOME DEPOT CREDIT SERVICE
                  P.O. BOX 183175
                  Columbus OH 43218


                  HUBBARD CONSTRUCTION
                  192 MT. VERNON DR.
                  Georgetown KY 40324


                  INDEPENDENT AMERICAN CONSTRUCTION
                  1130 N. WESTMORELAND
                  Desoto TX 75115


                  INSIGHT BUSINESS
                  10168 LIMM STATION RD.
                  Louisville KY 40223


                  INSTY-PRINTS
                  2413 NICHOLASVILLE RD.
                  Lexington KY 40503


                  INTUIT
                  2632 Marine Way
                  Mountain View CA 94043


                  IT NETWORK CONSULTANTS
                  2891 RICHMOND RD. SUITE 208
                  Lexington KY 40509
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                  J&S CONTRACTORS
                  1402 N JONES ST.
                  Fort Worth TX 76164


                  JACKSONVILLE STATE UNIVERSITY
                  700 PELHAM ROAD N.
                  Jacksonville AL 36265


                  JDS UNIPHASE CORPORATION
                  5793 COLLECTION CENTER DRIVE
                  Chicago IL 60693


                  JEFFERSON COUNTY KENTUCKY
                  P.O. BOX 34570
                  Louisville KY 40232


                  JESSAMINE CITY WATER
                  2225 LEXINGTON RD.
                  Nicholasville KY 40356


                  JESSAMINE CO. SHERIFF
                  101 S. SECOND STREET-STE A
                  Nicholasville KY 40356


                  Jessamine County Fiscal Court
                  105 Court Row
                  Nicholasville KY 40356


                  JIM PREUITT FORD, INC.
                  P.O. BOX 838
                  Talladega AL 35181


                  JOHNSON CONTROLS SECURITY SOLUTIONS
                  P.O. BOX 371967
                  Pittsburgh PA 15250


                  Kaleigh Stevens
                  State of Minnesota
                  Acquisition Management Specialist
                  50 Sherburne Ave., Suite 112
                  Saint Paul MN 55155


                  KARI-LANE, LLC
                  P.O. BOX 159
                  Saginaw AL 35137
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                  Ken Tyson Plumbing
                  228 INDUSTRY PKWY
                  Nicholasville KY 40356


                  KENTUCKY DECORATIVE CONCRETE, INC.
                  101 KEMPER DRIVE
                  Nicholasville KY 40356


                  KEYS GROUP
                  543 SAINT ANTHONY DRIVE
                  Lexington KY 40505


                  KINNEY'S AUTO BODY
                  117 COMMERCE DR.
                  Nicholasville KY 40356


                  KOHRMAN, FRYE & ASSOCIATES
                  938 HEMPSTEAD DR.
                  Cincinnati OH 45231


                  KOORSEN FIRE & SECURITY
                  2719 N ARLINGTON AVE.
                  Indianapolis IN 46218


                  KU
                  P.O. BOX 25212
                  Lehigh Valley PA 18002


                  KY - BLUE LICKS STATE RESORT & PARK
                  10299 MAYSVILLE RD.
                  Carlisle KY 40311


                  KY - BUCKHORN LAKE STATE PARK
                  4441 HIGHWAY 1833
                  Buckhorn KY 41721


                  KY - CARTER CAVES STATE RESORT & PARK
                  344 CAVELAND DR.
                  Olive Hill KY 41164


                  KY - DALE HOLLOW STATE PARK
                  5970 STATE PARK RD.
                  Burkesville KY 42717
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                  KY - GREENBO STATE RESORT & PARK
                  965 LODGE RD.
                  Greenup KY 41144


                  KY - NATURAL BRIDGE STATE PARK
                  2135 NATURAL BRIDGE RD.
                  Slade KY 40376


                  KY - PENNYRILE STATE RESORT & PARK
                  20781 PENNYRILE LODGE RD.
                  Dawson Springs KY 42431


                  Lake Cumberland Marina
                  2108 Highway 1383
                  Russell Springs KY 42642


                  LDR CONSULTING, LLC.
                  737 ROSE HURST WAY
                  Lexington KY 40515


                  LEES FORD MARINA
                  451 LEES FORD DOCK RD.
                  Nancy KY 42544


                  LEEWAY SERVICE CENTER
                  1366 COLONIAL BLVD
                  Ft. Myers FL 33907


                  LEXCAMS SATELLITE & SECURITY
                  2240 ABBEYWOOD RD.
                  Lexington KY 40515


                  LINE X OF SOMERSET
                  47 LARRY LANE
                  Somerset KY 42501


                  LINE-X OF KENTUCKY
                  119 HOWARD STREET
                  Nicholasville KY 40356


                  Madison County Clerk
                  101 W. Main St #4
                  Richmond KY 40475
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                  Madison County Sheriff
                  135 West Irvine St., Ste B01
                  Richmond KY 40475


                  MAIL BOX AT PALOMAR
                  3735 PALOMAR CENTRE DR. SUITE 150
                  Lexington KY 40513


                  MALCO
                  1725 PUNCHEON CR RD
                  Eubank KY 42567


                  MARIOS PAINTING LLC.
                  1346 VILLAGE DR. APT #A19
                  Lexington KY 40304


                  Mark Nelson
                  8326 116th Way N
                  Champlin MN 55316


                  MARTINA BROS CO., INC.
                  300 SCOTT STREET
                  Lexington KY 40508


                  MATTHEW PATTERSON
                  49 PATRIOT DR.
                  Science Hill KY 42553


                  MCGREGOR & ASSOCIATES, INC.
                  997 GOVERNORS LN. SUITE175
                  Lexington KY 40513


                  MILES COLLEGE
                  5500 MYRON MASSEY BLVD.
                  Fairfield AL 35064


                  MILLER'S WINDOW WORKS
                  201 INDUSTRY PARKWAY
                  Nicholasville KY 40356


                  MITCHUSON CARPENTRY INC.
                  3925 CROSBY DR.
                  Lexington KY 40515
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                  MONROE ELECTRONICS INC.
                  100 HOUSEL AVE. P.O. BOX 535
                  Lyndonville NY 14098


                  MOREHEAD STATE UNIVERSITY
                  180 MARTINDALE DR.
                  Morehead KY 40351


                  MPH
                  240 RIVERTON RD.
                  Foster KY 41043


                  NATIONAL COMMUNICATIONS, INC.
                  100 PORTER STREET
                  Franklin NC 28734


                  NATIONAL FARMERS UNION
                  PO BOX 711856
                  Denver CO 80271


                  NICHOLASVILLE
                  P.O. BOX 450, 601 N. MAIN STREET
                  Nicholasville KY 40340


                  NICKLESS SCHIRMER & CO., INC.
                  6820 POWER LINE DRIVE
                  Florence KY 41042


                  NORTH AMERICAN CABLE EQUIPMENT
                  1085 ANDREW DR. SUITE #A
                  West Chester PA 19380


                  NORTH CAROLINA DEPARTMENT OF REVENUE
                  P.O. BOX 25000
                  Raleigh NC 27640


                  NORTH GREENVILLE UNIVERSITY
                  P.O. BOX 1892
                  Tigerville SC 29688


                  NORTHSTAR TELESOLUTIONS
                  3209W SMITH VALLEY RD SUITE 201
                  Greenwood IN 46142
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                  OFFICE DEPOT
                  P.O. BOX 78004
                  Phoenix AZ 85062


                  Office of the Fayette County Sheriff
                  P. O. Box 34148
                  Lexington KY 40588


                  Ohio Bureau of Workers Comp
                  P.O. Box 89492
                  Cleveland OH 44101


                  OKIRA
                  P.O. BOX 1325
                  Lexington KY 40588


                  ONTV
                  1101 Brickell Ave
                  South Tower 8th Floor
                  Miami FL 33131


                  Overhead Door
                  181 TRADE STREET
                  Lexington KY 40511


                  OZBOURN ELECTRICAL CONTRACTORS, INC.
                  8316 HAZELBRAND RD. NE
                  Covington GA 30014


                  PAGE ELECTRONICS
                  8651 ALBANY RD.
                  Burkesville KY 42717


                  PALM BEACH ATLANTIC UNIVERSITY
                  P.O. BOX 24708
                  West Palm Beach FL 33416


                  Palmer Dodge
                  11460 Alpharetta Hwy
                  Rosewell GA 30076


                  PALMER TIRE
                  305 SOUTHLAND DRIVE
                  Lexington KY 40503
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                  PARKING SERVICES
                  P.O. BOX 193713
                  Cincinnati OH 45219


                  PAUL MILLER FORD INC.
                  975 EAST NEW CIRCLE RD.
                  Lexington KY 40588


                  Perfect Vision
                  P.O. BOX 841444
                  Dallas TX 75284


                  Philo, Inc.
                  C T Corporation System
                  330 N Brand Blvd STE 700
                  Glendale CA 91203


                  Philo, Inc.
                  225 Green Street
                  San Francisco CA 94111


                  PITNEY BOWES
                  P.O. BOX 371887
                  Pits PA 15250


                  PITNEY BOWES GLOBAL FINANCIAL SERVICE
                  2225 AMERICAN DRIVE
                  Neenah WI 54956


                  Pontiac Correctional Facility
                  700 W LINCOLN ST
                  Pontiac IL 61764


                  PORTER'S TIRE STORE
                  P.O. BOX 68
                  Morristown TN 37815


                  POWER & TEL
                  P.O. BOX 1000, DEPT 839
                  Memphis TN 38148


                  PRATI DEVELOPMENT IN.
                  2398 SE MASLAN AVE.
                  Port Saunt Lucie FL 34952
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                  PRECISION CABLING, INC.
                  5501 INDEPENDENCE SUITE 310
                  Plano TX 75023


                  PROLIFT INDUSTRIAL EQUIPMENT
                  12001 PLANTSIDE DR.
                  Louisville KY 40299


                  PROSOURCE
                  9482 MERIDIAN WAY
                  West Chester OH 45069


                  PULASKI COUNTY SHERIFF
                  P.O. BOX 752
                  Somerset KY 45202


                  PURSCHASE POWER
                  P.O. BOX 371874
                  Pittsburgh PA 15250


                  QUALITY INSULATION OF LEXINGTON
                  P.O. BOX 534451
                  Atlanta GA 30353


                  QX NET
                  P.O. BOX 12090
                  Lexington KY 40580


                  R&D INDOOR COMFORT OF LEXINGTON
                  2514 REGENCY RD. SUITE 101
                  Lexington KY 40503


                  RAINIER CONSTRUCTION, INC.
                  P.O. BOX 1731
                  Calera AL 35040


                  RAPIDFORMS
                  P.O. BOX 88042 CHICAGO, IL 60680-1042
                  Chicago IL 60680


                  RAYNOR
                  1033 RUSHWOOD CT.
                  Lexington KY 40511
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                  REPUBLIC SERVICES
                  P.O. BOX 9001099
                  Louisville KY 40290


                  REX ELECTRIC INC.
                  230 WEST MONROE SUITE 1150
                  Chicago IL 60606


                  RIVERLINK
                  P.O. BOX 16799
                  Austin TX 78761


                  RJH OF SOUTH FLORIDA INC.
                  1756 NE 37TH STREET FT
                  Ft. Luaderdale FL 33334


                  Robinson & Barn Builders, LLC
                  1227 Copper creek Rd.
                  Berea KY 40403


                  Rowan County Sheriff
                  600 West Main Street
                  Morehead KY 40351


                  RUMPKE
                  P.O. BOX 538710
                  Cincinnati OH 45253


                  S & S TIRE #4
                  3650 BOSTON RD. MILLPOND SUITE 4B
                  Lexington KY 40514


                  SALEM STATE UNIVERSITY
                  352 LAFAYETT STREET
                  Salem MA 01970


                  SAMFORD UNIVERSITY
                  800 LAKESHORE DRIVE
                  Birmington AL 35229


                  SCELLER AUTOMOTIVE
                  119 COMMERCIAL DR.
                  Lexington KY 40505
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                  SCOTT CO SHERIFF
                  120 NORTH HAMILTON
                  Georgetown KY 40324


                  Scott Gross Co. Inc.
                  664 Magnolia Ave.
                  Lexington KY 40505


                  SEAHO
                  212 CAMPUS CENTER, PO BOX 8795
                  Williamsburg VA 23185


                  SEARS TOWING
                  67 DUNGAN KNOB ROAD
                  Science Hill KY 42553


                  SHAW SATELLITE SERVICES, INC.
                  PO BOX 1650, STATION MAIN
                  CALGARY, ALBERTA T29 2L7


                  SHELL FLEET
                  P.O. BOX 183019
                  Columbus OH 43218


                  Sheriff - Russell County
                  410 Monument Square #109
                  Jamestown KY 42629


                  SHM BEAVER CREEK LLC
                  7162 P.O. Box 2450
                  Spokane WA 99210


                  SHM Burnside LLC
                  7162 P.O. Box 2450
                  Spokane WA 99210


                  SIGNARAMA
                  4013 NICHOLASVILLE RD. SUITE 130
                  Lexington KY 40503


                  SMOKY MOUNTAIN GETAWAYS
                  5184 HWY 74W
                  Whittier NX 28789
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                  SOUNDVISION SYSTEMS INC.
                  3610 NW 118TH AVE. SUITE #3
                  Coral Springs FL 33065


                  SOUTH CAROLINA DEPARTMENT OF REVENUE-2
                  P.O. BOX 101105
                  Columbia SC 29211


                  SOUTH CAROLINA DEPT OF REVENUE
                  PO BOX 100153
                  Columbia SC 29202


                  SOUTHERN BAPTIST THEO. SEM.
                  2825 LEXINGTON ROAD
                  Louisville KY 40206


                  Southern States
                  1141 Paris Road
                  Georgetown KY 40324


                  SOUTHWESTERN COLLEGE
                  100 COLLEGE STREET
                  Winfield KS 67156


                  SPANCOM SERVICES, INC.
                  P.O. BOX 5348
                  Birmingham AL 35207


                  Spring Hill College
                  4000 Dauphin Street
                  Mobile AL 36608


                  Springdale Tax Commission
                  11700 Springdale Pike
                  Cincinnati OH 45246


                  SWIZZLE CO.
                  15663 CALOOSA CREEK CIRCLE
                  Fort Myers FL 33908


                  TA AUTOMOTIVE
                  1439 N. BROAD ST
                  Tazewell TN 37879
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                  TAKE A SHOT
                  222 AUSTIN LANE
                  Jacksboro TN 37757


                  Talladega College
                  627 W. Battle Street Talladega,
                  Talladega AL 35160


                  TAYLOR MADE SALES AGENCY, INC.
                  2765 UNION MILL RD.
                  Nicholasville KY 40356


                  TELEGUIDE/MAXCOL
                  1660 S HWY 100 SUITE 590
                  Minneapolis MN 55416


                  TENNESSEE DEPT OF REVENUE
                  500 DEADERICK STREET
                  Nashville TN 37242


                  TENNESSEE WESLEYAN UNIVERSITY
                  204 EAST COLLEGE ST.
                  Athens TN 37371


                  THE COMMONWEALTH JOURNAL
                  P.O. BOX 859
                  Somerset KY 42502


                  THE CUTTER SNIPE
                  P.O. BOX 22423
                  Lexington KY 40522


                  THE DRAFTING BOARD, INC.
                  1049 KIAWAH DRIVE
                  Lexington KY 40515


                  THE UPS STORE
                  11711 PRINCETON PIKE SUITE 341
                  Cincinnati OH 45246


                  THOMAS MARTRELL BERRY
                  1007 TRENT BLVD.
                  Lexington KY 40517
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                  TIM CATRON
                  55 NORTH MAIN ST SUITE 104
                  Monticello KY 42633


                  TIME WARNER CABLE
                  PO BOX 6030
                  Carol Stream IL 60197


                  TKS CONSTRUCTION SERVICES, INC.
                  3391 GLENMORE AVE. SUITE 2
                  Cincinnati OH 45211


                  TODD WOOD, SHERIFF
                  P.O. BOX 752
                  Somerset KY 42502


                  TONER CABLE EQUIPMENT
                  969 HORSHAM RD.
                  Horsham PA 19044


                  TONY ARNOLD
                  153 PATCHEN DR. SUITE 13
                  Lexington KY 40517


                  Tony Hampton, Sheriff
                  120 N. Hamilton St.
                  Georgetown KY 40324


                  TOPEKA CORRECTIONAL FACILITY
                  815 SE RICE RD.
                  Topeka KS 66607


                  Toyota
                  2431 Carol Stream
                  Carol Stream IL 60132


                  TRAC
                  715 ST PAUL STREET
                  Baltimore MD 21202


                  TRANSYLVANIA UNIVERSITY-1
                  300 NORTH BROADWAY
                  Lexington KY 40508
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                  TRISTAN HUGHES
                  85 POINTE LN. APT C
                  Cullowhee NC 28723


                  TULSAT LLC
                  10632 S. MEMORIAL DR,
                  Tulsa OK 74133


                  TUSCULM COLLEGE
                  P.O. BOX 5100 GREENVILLE
                  Greenville TN 37743


                  TYCO INTEGRATED SECURITY
                  P.O. BOX 371967
                  Pittsburgh PA 15250


                  TYPHOON LOGISTICS, INC.
                  P.O. BOX 598
                  Revere MA 02151


                  UNDERGROUND INC.
                  11251 MOFFETT RD.
                  Wilmer AL 36587


                  UNIFIED UTILITY ALLIANCE, INC
                  P.O. BOX 2181
                  London KY 40743


                  UNITED PARCEL SERVICE
                  P.O. Box 809488
                  Chicago IL 60680


                  UNITED STATES POSTAL SERVICE
                  3525 LANSDOWNE DR.
                  Lexington KY 40517


                  UNIV OF MONTEVALLO
                  STATION 6370
                  Montevallo AL 35115


                  UNIV. OF CINCINNATI
                  2766 UC MAINSTREET
                  Cincinnati OH 45221
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                  UNIVERSITY OF MEMPHIS
                  101 JONES HALL 3706 ALUMNI AVE.
                  Memphis TN 38152


                  University of Miami
                  1320 South Dixie Hwy, Ste 1235A
                  Coral Gables FL 33146


                  University of Mobile
                  5735 College Parkway
                  Mobile AL 36613


                  UNIVERSITY OF NORTH CAROLINA
                  104 AIRPORT DRIVE
                  Hill NC 27599


                  UNIVERSITY OF SOUTH ALABAMA
                  650 Clinic Drive TRP III Suite 1400
                  Mobile AL 36688


                  University of Wisconsin - Green Bay
                  2420 Nicxolet Drive
                  Bay WI 54311


                  University of Wisconsin - Oshkosh
                  P.O. Box 2884
                  Oshkosh WI 54903


                  UNIVERSITY OF WYOMING
                  1000 E UNIVERSITY AVE.
                  Laramie WY 82071


                  UNIVERSITY SPORTS PUBLICATION
                  9702 GAYTON ROAD DEPT 281
                  Richmond VA 23233


                  UNIVERSITY SPORTS PUBLICATIONS
                  1821 HILLANDALE RD. SUITE 1B-135
                  Durham NC 27705


                  UPS SUPPLY CHAIN SOLUTIONS, INC.
                  P.O. BOX 809488
                  Chicago IL 60680
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                  VAN WAGNER SPORTS & ENT, LLC.
                  800 3RD AVE. 28TH FLOOR
                  New York NY 10022


                  VANGUARD TECHNOLOGIES
                  614 SAWGRASS CT.
                  Richmond KY 40475


                  VEOLIA ENVIRONMENTAL SERVICES
                  P.O. BOX 484
                  Morehead KY 40351


                  VERIZON WIRELESS
                  P.O. BOX 16810
                  Newark NJ 07101


                  VIAVI SOLUTIONS INC.
                  5793 COLLECTION CENTER DR.
                  Chicago IL 60693


                  Victor Simo LLC
                  6556 NW 97th Dr.
                  Parkland FL 33076


                  WANG HEATING & AIR
                  5991 MEIJER DR. SUITE 19
                  Milford OH 45150


                  WASTE MANAGEMENT
                  PO BOX 4648
                  Carol Stream IL 60197


                  WAVELENGTH COMMERCIAL COMMUNICATIONS, IN
                  7300 S COLORADO BLVD.
                  Centennial CO 80122


                  Weber State University
                  1265 VILLAGE DR
                  Ogden UT 84408


                  Wendell Wison Concsulting, LLC
                  104 E. Main Street
                  Richmond KY 40475
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                  West Virginia University
                  P.O. Box 6024
                  Morgantown WV 26506


                  WESTERN CAROLINA UNIVERSITY
                  417 CENTRAL DR. ROOM 225
                  Cullowhee NC 28723


                  Wex Fleet Universal
                  P.O. Box 4337
                  Carol Stream IL 60197


                  WILD CAT FORD
                  4080 LEXINGTON RD.
                  Nicholasville KY 40356


                  Windstream
                  P.O. Box 9001013
                  Louisville KY 40290


                  Windstream-Kinetic
                  P.O. Box 9001013
                  Louisville KY 40290


                  WISE GUYS MEDIA, LLC
                  937 CANYON RD
                  Morgantown WV 26508


                  Wolf Creek Marina
                  782 Island Ramp Road
                  Nancy KY 42544


                  Wood & Lamping
                  600 Vine Street, #2500
                  Cincinnati OH 45202


                  WOODLAKE LODGE
                  330 WOODLAKE BLVD
                  Tazewell TN 37879


                  XPRESS MANAGEMENT SOLUTIONS, INC.
                  P.O. BOX 910801
                  Lexington KY 40591
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                  Xtreme Audio
                  24 Rowena Dr.
                  Somerset KY 42501
